      CASE 0:18-cv-00886-DWF-DTS Document 7 Filed 06/25/18 Page 1 of 2



                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


James Irving Dale,                                   Civil File No. 18-cv-886 (DWF/DTS)

                     Plaintiff,

      v.
                                                       NOTICE OF APPEARANCE OF
Tom Roy, Kathryn Halvorson, Nola Karow,                            IAN M. WELSH
Nanette Larson, Michelle Jaeckels, Jeffrey,
Haffely, Dahlen (First Name Unknown),
Centurion Of Minnesota L.L.C., David A.
Paulson, Blanchard (First Name Unknown),
Darrin Haugland, Doctor Felt (First Name
Unknown), Anagram International, Heather
Hanson, Ottman (First Name Unknown),
Unknown Department Of Corrections
Employees,       Unknown        MINNCOR
Employees,    Unknown      Centurion    Of
Minnesota LLC Employees, Unknown
Anagram International Employees,

                     Defendants.

To:   Plaintiff James Irving Dale, 1918 Park Avenue, Minneapolis, MN 55404, Pro Se

      PLEASE TAKE NOTICE that Assistant Attorney General Ian M. Welsh enters his

appearance as counsel for Defendants Tom Roy, Nola Karow, Kathryn Halvorson,

Michelle Jaeckels, Jeffrey Haffely, Martin Dahlen, David Paulson, Ann Blanchard,

Heather Hanson, and Jason Ottman, in their official capacities (collectively “State

Defendants”) in the above-captioned matter. All pleadings, orders, notices, and other

documents in this matter should be directed to the undersigned.
     CASE 0:18-cv-00886-DWF-DTS Document 7 Filed 06/25/18 Page 2 of 2



Dated: June 25, 2018                 OFFICE OF THE ATTORNEY GENERAL
                                     State of Minnesota

                                    s/ Ian M. Welsh
                                    IAN M. WELSH
                                    Assistant Attorney General
                                    Atty. Reg. No. 0396287

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                                    St. Paul, Minnesota 55101-2128
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                                    ATTORNEY FOR STATE DEFENDANTS,
                                    IN THEIR OFFICIAL CAPACITIES




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